Case 1:18-cv-00931-ELH Document 54 Filed 06/11/19 Page 1of1

1 CASE 1:185 B:cV" -00931- ELH Document53 Filed 06/10/19 Page 1 of 2
: ES °

nyt
Lt pats

* ft th a . pu
ZEN9 SEY VY PHN? THE UNITED STATES DISTRICT COURT CL : Ue
- n= s,.OR THE DISTRICT OF MARYLAND

 

JOHN‘BECKER, ETAL: cli p ye
Plaintiffs,
Vv. ) C.A. No. £:18-ev-00931 (o| 119
PAUL HOWE NOE, II, ET AL.,
Defendants. )

 

NOTICE OF WITHDRAWAL OF APPEARANCE
May the Clerk, the Court, and all interested parties please take notice that Nicholas G.
Hallenbeck of Gordon Rees Scully Mansukhani, LLP, hereby withdraws his appearance as
counsel to Eco-Gen Energy, Inc., Paul Howe Noe, IJ, Licia Bonaventura-Delanoe, Julia Otey- -
Raudes, Raoul Hamilton, Ralph Warren and Operating Expense Consulting, LLC in the above
captioned matter. The undersigned requests that he be removed from the list of persons to receive
notices and papers in this matter. Brian A. Scotti will, Esq. will remain as counsel.

Dated: June 10,2019 Respectfully submitted,

és/ Adam V. Vickers
Adam V. Vickers (La. Bar No. 34992)
(Admitted pro hac vice)
avickers@carastone.com
William F. Large (La. Bar. No. 34837)
(Admitted pro hac vice)
wlarge@carastone.com
CARA STONE, LLP
650 Poydras St., Suite 1130
New Orleans, LA 70130
(504) 265-9955
(504) 265-9955 (Facsimile)
